Case 1:15-cv-00561-SLR Document 1-1 Filed 06/30/15 Page 1 of 6 PagelD #: 5

EXHIBIT A
 
  

Case No. N15C-05-149 EMD Qalhy
IN THE SUPERIOR COURT OF THE STATE OF DELAWARE ee
IN AND FOR NEW CASTLE COUNTY

STEPHEN K. LUMOR and

 

)
EUNICE ABIEMO, )
)
Plaintiffs, )
)
v. ) C. A. No. NI5SC-
) frag
JOSEPH C. REYNOLDS and ) JURY TRIAL DEMANDED = 55
FEDEX FREIGHT, INC., ) & Sa
a foreign corporation, ) = SD
) Nm 9
Defendants. ) a mi o
SUMMONS = =
THE STATE OF DELAWARE, me Se
TO THE SHERIFF OF NEW CASTLE COUNTY: aq 2e
YOU ARE COMMANDED:

To summon the above named defendant Fedex Freight, Inc. so that, within 20 days after
service hereof upon defendant, exclusive of the day of service, defendant shall serve upon Gary 8.
Nitsche, Esquire, plaintiff's attomey, whose address is 305 N. Union Street, Second Floor,
Wilmington, Delaware 19805, an answer to the complaint (and, if an affidavit of demand has been

filed, an affidavit of defense).
To serve upon defendant a copy hereof and of the complaint (and of the affidavit of

 
  
 

demand if any has been filed by plaintiffs).

d: ~
Date Lol) hs SHARON AG

TO THE ABOVE NAMED DEFENDANT:
In case of your failure, within 20 days after service
of service, to serve on plaintiff's attomey named above an answer to the complaint (and, if an

affidavit of demand has been filed, an affidavit of defense), judgment by default will bg rendered

 

 
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SUPERIOR COURT CIVIL CASE INFORMA BURST MANE RD Raa AP Ls Nay
ransaction rs : |

COUNTY: (NewCastle) Kent Sussex

  
  

CIVIL ACTION SONMSENARESES-149 EMD | i =

 

CAPTION:

 

STEPHEN K. LUMOR and EUNICE ABIEMO,

 

Plaintiffs,

 

Vv.

 

JOSEPH C. REYNOLDS, and FEDEX FREIGHT,
INC., a foreign corporation,

 

 

Civil Case Code: _CPIA

Civil Case Type: _Personal Injury/Auto

Name and Status of Party Filing Document:

Stephen K. Lumor and Eunice Abiemo, Plaintiffs.

Document Type:(e.g. Complaint, Answer with counterclaim)

 

 

GARY S. NITSCHE, P.A.
MICHAEL B, GALBRAITH, ESQ.

 

ATTORNEY ID(8);
2617 and 4860

 

FIRM NAME:
WEIK, NITSCHE, DOUGHERTY &
GALBRAITH

 

ADDRESS:

305 N. Union Street, Second Floor
P. O, Box 2324

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TELEPHONE NUMBER:
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(302) 654-4892

E-MAIL ADDRESS:
enitsche@attys4u.com

mgalbraith@attys4u.com :

 

 

Complaint
Defendants.
JURY DEMAND _X___Yes No.
ATTORNEY NAME(S): IDENTIFY ANY RELATED CASES NOW PENDING IN THE

SUPERIOR COURT BY CAPTION AND CIVIL ACTION NUMBER
INCLUDING JUDGE’S INITALS

 

 

 

EXPLAIN THE RELATIONSHIP(S):

 

 

OTHER UNUSUAL ISSUES THAT AFFECT CASE
MANAGEMENT:

 

 

 

 

 
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Case No. N15C-05-149 EMD ah

IN THE SUPERIOR COURT OF THE STATE OF DELAWARE be
IN AND FOR NEW CASTLE COUNTY

STEPHEN K. LUMOR and )
EUNICE ABIEMO, )
)
Plaintiffs, )
)
Vv. ) C. A. No. N15C-
)
JOSEPH C. REYNOLDS and ) JURY TRIAL DEMANDED
FEDEX FREIGHT, INC., )
a foreign corporation, )
)
Defendants. )
COMPLAINT
l, The Plaintiff, Stephen K. Lumor, is a resident of the State of Delaware and resides
at 314 Topaz Circle, Dover, Delaware 19904.
2. The Plaintiff, Eunice Abiemo, is a resident of the State of Delaware and resides at

314 Topaz Circle, Dover, Delaware 19904.

an The Defendant, Joseph Reynolds, is a resident of the State of Maryland, and
resides at 8033 Baptist Church Road, Mardela Springs, Maryland 21837.

4. The Defendant, FedEx Freight, Inc. is a foreign corporation an conducts business
at 7306 N. Baker Road, Fremont, Indiana 46737.

5. On or about September 6, 2013, the Plaintiff Stephen K. Lumor, with the Plaintiff
Eunice Abiemo as his passenger, was at all times herein relevant exercising due care and was
proceeding northbound on McKee Road, near the Gemstone Boulevard, in the City of Dover,
County of New Castle, State of Delaware.

4, At or about the same time and place, the Defendant Joseph Reynolds, who was

acting in the course and scope of his employment as the agent and/or employee of Defendant
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FedEx Freight, Inc., and was proceeding northbound on McKee Road, near the Gemstone
Boulevard intersection, in the City of Dover, County of Kent, State of Delaware, directly behind
the Plaintiffs’ vehicle, and negligently caused his vehicle to strike Plaintiffs’ vehicle, which
caused Plaintiffs to strike another vehicle, all with force and violence.
5. The Defendant Joseph C. Reynolds was negligent in that he:

(a) Failed to maintain a proper lookout;

(b) Failed to maintain proper control over his vehicle;

(c) Operated his motor vehicle in a careless manner in violation of 21 Dei.C.
§4176(a);

(d) Operated his motor vehicle in an imprudent manner in violation of 21
Del.C. §4176(a);

(e) Operated his vehicle without due regard for road and traffic conditions
then existing in violation of 21 Del.C. §4176(a);

(f) Failed to maintain a proper lookout in violation of 21 Del.C. §4176(b);

(g) Failed to give his full time and attention to the operation of his motor
vehicle in violation of 21 Del.C. §4176(b);

(h) Failed to control the speed of his motor vehicle as was necessary to avoid
colliding with another vehicle on the highway in violation of 21 Del.C. §4168;

(i) Followed another vehicle more closely than was reasonable and prudent
without having due regard for the speed of such vehicle, and the traffic upon the highway, in
violation of 21 Del.C. §4123(a);

(j) As otherwise will be revealed through discovery in the case.

 
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6. Each of the aforementioned acts of negligence of the Defendant, Joseph C.
Reynolds, are attributable to FedEx Freight, Inc., by reason of the doctrine of respondeat

superior.

7. Each of the aforementioned acts of negligence of the Defendants constitutes a
proximate cause of the collision, and injuries and damages resulting to the Plaintiffs.
8. As a proximate result of the aforesaid negligence of the Defendants, the Plaintiffs
have suffered the following injuries and damages:
(a) Personal injuries all of which may be permanent;
(b) Pain and suffering;
(c) | Medical expenses not covered by 21 Del.C. §2118, plus future medical
expenses.
WHEREFORE, Plaintiffs demand judgment against the Defendant, jointly and severally,
for personal injuries, pain and suffering, past and future medical expenses, interest pursuant to 6
Del. C. §2301(d), and Court costs,
WEIK, NITSCHE, DOUGHERTY & GALBRAITH
BY: 4/Gary S. Nitsche
GARY S. NITSCHE, P.A. I.D. #2617
MICHAEL B. GALBRAITH, ESQ. ID. #4860
305 N. Union Street, Second Floor
P.O. Box 2324
Wilmington, DE 19899

(302) 655-4040
Attomeys for Plaintiffs

 
